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 3
 4                              UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
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     RONALD J. ALLISON,
 7                                                          Case No.: 2:22-cv-00994-RFB-NJK
             Plaintiff,
 8                                                                         ORDER
     v.
 9
     MIKE VANLUVEN,
10
             Defendant.
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12         Plaintiff is proceeding in this action pro se and submitted a motion to initiate this case.
13 Docket No. 1. In addition to the fact that the motion is improperly filed and does not constitute a
14 compliant, Plaintiff has not paid the required filing fee or requested authority pursuant to 28 U.S.C.
15 § 1915 to proceed in forma pauperis. To proceed with this case, Plaintiff must either pay the filing
16 fee or file a fully complete application to proceed in forma pauperis, including an inmate account
17 statement for the past six months and a properly executed financial certificate.
18         Accordingly, IT IS ORDERED:
19         1.       Plaintiff shall either make the necessary arrangements to pay the filing fee,
20 accompanied by a copy of this order, or file a fully complete application to proceed in forma
21 pauperis, including an inmate account statement for the past six months and a properly executed
22 financial certificate.
23         2.       The Clerk of the Court shall send Plaintiff the approved form application to proceed
24 in forma pauperis by a prisoner, as well as the document entitled information and instructions for
25 filing an in forma pauperis application.
26         3.       Plaintiff must comply with this order no later than July 25, 2022. Failure to comply
27 will result in a recommendation to the District Judge that this case be dismissed.
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 1         4.      Plaintiff’s motion to request 10 million dollars, Docket No. 1, is DENIED without
 2 prejudice, as the matter of the filing fee has not yet been determined.
 3         IT IS SO ORDERED.
 4         Dated: June 24, 2022.
 5                                                 ____________________________________
                                                   NANCY J. KOPPE
 6                                                 UNITED STATES MAGISTRATE JUDGE
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